









Dismissed and Memorandum Opinion filed June 10, 2004









Dismissed and Memorandum Opinion filed June 10, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00347-CV

____________

&nbsp;

NICOLE STEWART,
Appellant

&nbsp;

V.

&nbsp;

STATE OF TEXAS, COUNTY OF FORT BEND, Appellees

&nbsp;



&nbsp;

On Appeal from the 400th District
Court

Fort Bend County,
Texas

Trial Court Cause No.
01-CV-117671

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed June 13, 2003.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On May 10, 2004, notification was transmitted to all parties
of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P.
37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed June 10, 2004.

Panel consists of Justices Fowler,
Edelman, and Seymore.

&nbsp;





